                  THE THIRTEENTH COURT OF APPEALS

                                   13-16-00360-CV


                                Amanda Ann Gutierrez
                                         v.
                                  Rogelio P. Flores


                                  On appeal from the
                    117th District Court of Nueces County, Texas
                         Trial Cause No. 2012-FAM-4957-B


                                     JUDGMENT

      THE THIRTEENTH COURT OF APPEALS, having considered this cause on

appeal, concludes the appeal should be dismissed. The Court orders the appeal

DISMISSED in accordance with its opinion. Costs of the appeal are adjudged against

appellant.

      We further order this decision certified below for observance.

September 2, 2016
